                                         Case 3:18-cv-04865-EMC Document 653 Filed 02/01/23 Page 1 of 1




                                   1

                                   2

                                   3

                                   4                                 UNITED STATES DISTRICT COURT

                                   5                              NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7     IN RE TESLA, INC. SECURITIES                       Case No. 18-cv-04865-EMC
                                         LITIGATION
                                   8
                                                                                            ORDER REGARDING OBJECTIONS
                                   9                                                        TO FEBRUARY 1 EVIDENCE
                                  10                                                        Docket Nos. 648, 649
                                  11

                                  12
Northern District of California
 United States District Court




                                  13

                                  14          The Court’s rulings on the parties’ objections to the list of exhibits slated for February 1,

                                  15   2023, are attached. The Court overrules all of Plaintiff’s objections. See Docket No. 648. The

                                  16   Court uses the following notations for its rulings on Defendants’ objections: “O” means that the

                                  17   objection is overruled, “S” means that the objection is sustained, “R” means that the Court is

                                  18   reserving ruling, and “W” means that the exhibit or the objection has been withdrawn.

                                  19

                                  20          IT IS SO ORDERED.

                                  21

                                  22   Dated: February 1, 2023

                                  23

                                  24                                                    ______________________________________
                                                                                         EDWARD M. CHEN
                                  25                                                     United States District Judge
                                  26
                                  27

                                  28
